         Case 2:10-cr-00289-KJD-RJJ       Document 89     Filed 04/25/12       Page 1 of 1   j

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 5                          UNITED STATES DIS RICT COURT                                     i
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 7 UNITED STATES OF AM ERICA,                   )                                       '    1
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 8                      Plaintiff,              )                                            i
                                                )                                            I
 9         v.                                   )          2:10-CR-289-KJD (RJJ)             i
                                                )                                            ,
                                                                                             i
10 CURTISBRILEY,                                )                                            g
                                                )                                            4
11                      Defendant.              )                                            :
                                                                                             :

12                                   ORDER OF FORFEITURE                                     i
                                                                                             !
13       ThisCourtfound February on 8,2012,thatCURTIS BRILEY shallpay acrim inalforfeiture   !

14 moneyjudgmentof$100,000.00inUnitedStatesCurrency,pursuanttoFed.R,Crim.P.32.209(1)
15 and (2);Title 18,United StatesCode,Section982(a)(2)(A);Titlel8,UnitedStatesCode,Section   ;
16 981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,
                                                                                             :
17 Section853(p).(OrderofForfeiture,ECFNo.78).                                               1
                                                                                             i
18       THEREFORE,IT ISHEREBY ORDERED,ADJUDGED , AND DECREED thattheUnited                  r
19 Sotesrecoverfrom CURTIS BRILEY a criminalforfeittlremoneyjudgmentin the amountof          !
                                                                                             q
20 $100#000.00inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,      '
21 United StatesCode, Section 982(a)(2)(A);Title18,UnitedStatesCode,Section981(a)(1)(C)and   i
                                                                                             j
22 Title28,United StatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section 853(p).      l
23       DATEDthis l%dOdayof               '          ,2012.                                 :
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25
                                           UNITED STATES DISTRICT JUDGE
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